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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    STATE OF NEW YORK, et al.,

                         Plaintiffs,

              v.

    U.S. DEPARTMENT OF LABOR et                       CIVIL ACTION NO. 18-cv-1747 (JDB)
    al.,

                         Defendants.


                                       [PROPOSED] ORDER

       Upon consideration of Plaintiffs’ Motion to Enter Plaintiffs’ Proposed Briefing Schedule,

the opposition and reply thereto, it is hereby ORDERED that:

       Defendants’ Motion to Stay Defendants’ Response to Plaintiffs’ Motion for Summary

Judgment is DENIED; it is FURTHER ORDERED that

       Defendants’ Motion to Enter Defendants’ Proposed Briefing Schedule is DENIED; it is

FURTHER ORDERED that

       Plaintiffs’ Motion to Enter Plaintiffs’ Proposed Briefing Schedule is GRANTED.

Pursuant to this Court’s ORDER, Defendants will file their combined motion to dismiss, or, in

the alternative, cross-motion for summary judgment, and opposition to Plaintiffs’ motion for

summary judgment and the certified list of administrative record contents on October 1, 2018;

Plaintiffs will file their consolidated reply in support of their motion for summary judgment and

opposition to Defendants’ motion to dismiss, or, in the alternative, cross-motion for summary

judgment on October 29, 2018; and Defendants will file their reply in support of their motion to

dismiss, or, in the alternative, cross-motion for summary judgment on November 27, 2018.




 
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        SO ORDERED.



Date:                               _______________________
                                    JOHN D. BATES
                                    UNITED STATES DISTRICT JUDGE




 
